IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: June 05, 2019.

                                                        ________________________________________
                                                                   CRAIG A. GARGOTTA
                                                           UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

IN RE:                              §           CASE NO. 19-50304-CAG
                                    §
R. BRYAN BLUMENKRANTZ               §
JULIE MARIE BLUMENKRANTZ            §
                                    §
DEBTORS                             §           CHAPTER 7
______________________________________________________________________________

         ORDER AUTHORIZING EMPLOYMENT OF BK GLOBAL REAL
       ESTATE SERVICES NUNC PRO TUNC PURSUANT TO 11 U.S.C. § 327
______________________________________________________________________________
         On this day, came on to be considered the Trustee’s Application to Employ BK Global

Real Estate Services to Procure Consented Public Sale Nunc Pro Tunc Pursuant to 11 U.S.C. §

327 (the “Application”) filed by Jose C. Rodriguez, (“Trustee”).

         The Court finds that notice is proper and that no objections have been filed to the

Application. The Court, having reviewed the Application, further finds that BK Global Real Estate

Services holds no interest adverse to the estate; is a disinterested party as required by 11 U.S.C.

§327(a), and that the employment of a real estate broker and agent is necessary and in the best

interest of the estate. It is, therefore,
       ORDERED AND ADJUDGED:

       1. The Trustee is authorized to employ BK Global Real Estate Services, as a real estate

          broker and agent of the estate for the purpose of marketing and selling the real property

          located at:

          609 PROVIDENCE CIR CLOVIS, NM 88101
             Parcel Number: 1-213-011-289-474-00
             Tax ID: 16241
             Census Tract: 350090003.032000
             Carrier Route: R007
             Abbreviated Description: PROVIDENCE UNIT 1 BLOCK 2 LOT 4

       2. The employment is effective as of upon entry of this Order.

       3. Compensation to BK Global Real Estate Services shall be paid and expenses

          reimbursed as awarded by the Court upon proper application or in conjunction with an

          Order entered by the Court approving the sale of the real property at issue

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Order submitted by:

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